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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


In re:
                                                                     Chapter 11
CAESARS ENTERTAINMENT OPERATING
COMPANY, INC., et al.,                                               Case No. 15-01145 (ABG)
                       Debtors.
                                                                     (Jointly Administered)

                                        NOTICE OF FILING

To:      See attached Service List.

       PLEASE TAKE NOTICE that on Wednesday, August 8, 2018, we caused to be filed
with the Clerk of the United States Bankruptcy Court for the Northern District of Illinois, Eastern
Division, Everett McKinley Dirksen Building, 219 South Dearborn Street, Chicago, Illinois,
Whitebox Advisors, LLC’s Preliminary Response to Earl of Sandwich’s Summary Judgment
Motion, a copy of which is herewith served upon you.

Dated: August 8, 2018                      DRINKER BIDDLE & REATH LLP
       Chicago, Illinois
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                                CERTIFICATE OF SERVICE

        I, Timothy R. Casey, an attorney, hereby certify that on August 8, 2018, a true and
correct copy of Whitebox Advisors, LLC’s Preliminary Response to Earl of Sandwich’s Summary
Judgment Motion was served via operation of the CM/ECF System for the United States
Bankruptcy Court for the Northern District of Illinois on all registered users thereof and via the
means indicated on the attached service list on the parties therein.

                                                            ____/s/ Timothy R. Casey______
                                                                   Timothy R. Casey




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